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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page1of25 Page ID#:

Jerry L. Steering (SBN 122509)

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Attorney for plaintiffs Amy N. Barnett, individually and as guardian ad litem for
her minor child A.M.B.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

AMY N. BARNETT, individually and as} Case No.:
guardian ad litem for her minor child

AMB.. COMPLAINT FOR DAMAGES FOR
- VIOLATION OF FEDERAL
Plaintiffs, CONSTITUTIONAL RIGHTS
vs. UNDER COLOR OF STATE LAW

(42 U.S.C. § 1983); CLAIM FOR

CITY OF PALM SPRINGS, MICHAEL| UNREASONABLE SEIZURE OF
DELANEY and DOES | through 10, _ | PERSON (U.S. CONST. AMEND 4);

INCLUSIVE, CLAIM FOR EXCESSIVE /
UNREASONABLE FORCE UPON
Defendants. PERSON (U.S. CONST. AMEND 4);

MONELL CLAIM FOR FAILURE TO
TRAIN; CLAIM FOR VIOLATION
OF FIRST AMENDMENT;
UNREASONABLE SEARCH and
SEIZURE OF PERSONAL
PROPERTY (U.S. CONST. AMEND
4); CALIFORNIA STATE LAW
CLAIMS FOR VIOLATION OF
BANE ACT (CAL. CIV. CODE §
52.1); FALSE ARREST / FALSE
IMPRISONMENT; BATTERY;
ASSAULT; CONVERSION and
INTENTIONAL INFLICTION OF
EMOTIONAL DISTRESS, and

 

 

COMPLAINT FOR DAMAGES
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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page 2of25 Page ID#:

NEGLIGENT INFLICTION OF
EMOTIONAL DISTRESS

JURY TRIAL DEMANDED

 

COMES NOW plaintiff Amy N. Barnett, individually and as guardian ad
litem for her minor child, plaintiff A.M.B., and shows this honorable court the
following:

JURISDICTIONAL ALLEGATIONS

1. As this action is brought under 42 U.S.C. § 1983, this court has
jurisdiction over this case under its federal question jurisdiction pursuant to 28
U.S.C. § 1331.

2. As the incidents complained of in this action occurred in the County
of Riverside, State of California, within the territorial jurisdiction of this court,
venue properly lies in this court pursuant to 28 U.S.C. § 1391(b)(2).

3. As plaintiffs’ claims brought under California state law arise out of
the same transactions and occurrences and out of a common nucleus of operative
facts as the plaintiffs federal questions claims, this court has jurisdiction over the
plaintiffs’ California state law claims under its Supplemental Jurisdiction pursuant
to 28 U.S.C. § 1367, and otherwise pursuant to United Mine Workers of America
v. Gibbs, 383 U.S. 715 (1966).

ae Plaintiffs Amy N. Barnett, individually and as guardian ad litem for
her minor child, plaintiff A.M.B., timely filed their Claims for Damages against
the City of Palm Springs on March 5, 2021, pursuant to the California Tort Claims
Act, Cal. Gov’t. Code § 900 et seq. Said claim as to minor plaintiff A.M.B. was
been rejected by defendant City of Palm Springs on May 18, 2021. Said claim as
to plaintiff Amy N. Barnett was rejected by operation of law by defendant City of
Palm Springs on April 19, 2021.

GENERAL ALLEGATIONS
5. Plaintiff Amy N. Barnett, hereinafter referred to as “BARNETT”

COMPLAINT FOR DAMAGES
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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page 3o0f25 Page ID#:

and/or “plaintiff” and/or “Amy Barnett” is a natural person, who, at all times
complained of in this action, resided in the State of California.

6. Minor plaintiff A.M.B., hereinafter referred to as “A.M.B.” and/or
“plaintiff is a natural person, who, at all times complained of in this action,
resided in the State of California, whose date of birth is January 14, 2015. At all
times complained of herein, A.M.B. is the legal and natural daughter of her
mother; plaintiff's guardian ad litem Amy Barnett.

7. Defendant City of Palm Springs, hereinafter also referred to as “Palm
Springs” or “CITY”, is a political subdivision of the State of California and is a
municipal entity, located within the territorial jurisdiction of this Honorable Court.

8. Defendant Michael Delaney, hereinafter referred to as “DELANEY”,
is a sworn police officer with the Palm Springs Police Department, who, at all
times complained of in this action was acting as an individual person under the
color of state law, and was acting in the course of and within the scope of his
employment with the Palm Springs Police Department and defendant City of Palm
Springs.

9. Defendants DOES 1 through 6, inclusive, are sworn peace officers
and/or police officers and/or supervisors and/or investigators and/ Special Officers
and/or a dispatchers and/or some other public officer, public official or employee
of defendant City of Palm Springs and/or with some other public entity, who in
some way committed some or all of the tortious actions (and constitutional
violations) complained of in this action, and/or are otherwise responsible for and
liable to plaintiffs for the acts complained of in this action, whose identities are,
and remain unknown to plaintiffs, who will amend his complaint to add and to
show the actual names of said DOE defendants when ascertained by plaintiffs.

10. At all times complained of herein, DOES 1 through 6, inclusive, were
acting as individual persons acting under the color of state law, pursuant to their

authority as sworn peace officers and/or police officers and/or Special Officers

COMPLAINT FOR DAMAGES
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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page 4of25 Page ID#:

and/or Supervisors (i.e. Sergeants, Lieutenants, Captains, Commanders, etc.)
and/or dispatchers and/or public officers, employed by defendant City of Palm
Springs and/or with some other public entity, and were acting in the course of and
within the scope of their employment with defendant City of Palm Springs.

11. Defendants DOES 7 through 10, inclusive, are sworn peace officers
and/or Supervisors and/or Commanders and/or Captains and/or Lieutenants and/or
Sergeants and/or Detectives and/or other Supervisory personnel (such as) and/or
policy making and/or final policy making officials, employed by the City of Palm
Springs and/or with some other public entity, who are in some substantial way
liable and responsible for, or otherwise proximately caused and/or contributed to
the occurrences complained of by plaintiffs in this action, such as via supervisory
liability (i.e. failure to properly supervise, improperly directing subordinate
officers, approving actions of subordinate officers), via bystander liability (failing
to intervene in and stop unlawful actions of their subordinates and/or other
officers), and such as by creating and/or causing the creation of and/or
contributing to the creation of the policies and/or practices and/or customs and/or
usages of the City of Palm Springs and/or with some other public entity, for: 1) for
wrongfully arresting persons; 2) for using excessive / unreasonable force on
persons; 3) for unlawfully arresting persons for a violation of a court order
without making any determination that any such court order exists; 4) for
unlawfully seizing persons; 5) for unlawful searching and seizing persons and
their personalty / property; 6) for falsely arresting and falsely imprisoning
persons; 7) for fabricating / destroying / concealing / altering / withholding
evidence in criminal and civil actions, and for otherwise “framing” persons in
criminal actions, in order to falsely and maliciously, oppressively convict innocent
persons, to protect them and other police officers, public officers and supervisory
personnel from civil, administrative and criminal liability; 8) for interfering with

persons’ and/or otherwise violating persons’ constitutionally protected right to

COMPLAINT FOR DAMAGES
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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page5of25 Page ID#:

free speech; 9) for covering-up unlawful and tortious conduct by City of Palm
Springs personnel, and were a proximate cause of the very same California state
law, and federal and state constitutional violations complained above, and
complained of by the plaintiffs in this action.

12. Plaintiffs are presently unaware of the identities of DOES 1 through
10, inclusive, and will amend this complaint to add and to show the actual names
of said DOE defendants, when ascertained by plaintiff.

13. At all times complained of herein, DOES 7 through 10, inclusive,
were acting were acting as individual persons acting under the color of state law,
pursuant to their authority as Police Officers and/or Supervisory Officers,
Commanders and/or Captains and/or Lieutenants and/or Sergeants and/or other
Supervisory personnel and/or policy making and/or final policy making officials,
employed by the City of Palm Springs and/or with some other public entity,
and/or some other public official(s) with the City of Palm Springs and/or with
some other public entity, and were acting in the course of and within the scope of
their employment with defendant the City of Palm Springs.

14. At all times complained of herein, defendants DOES 7 through 10,
inclusive, were acting as individual persons under the color of state law; under and
pursuant to their status and authority as peace officers and/or Supervisory peace
officers (as described herein, above and below), and/or policy making peace
officers, with defendant City of Palm Springs.

15. Moreover, at all times complained of herein, defendants DOES 1
through 10, inclusive, were acting pursuant to, or otherwise contributed to the
creation and maintenance of, the customs, policies, usages and practices of the
City of Palm Springs and/or with some other public entity, for, inter alia: 1) for
wrongfully arresting persons; 2) for using excessive / unreasonable force on
persons; 3) for unlawfully arresting persons for a violation of a court order

without making any determination that any such court order exists; 4) for

COMPLAINT FOR DAMAGES
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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page 6éof25 Page ID#:

unlawfully seizing persons; 5) for unlawful searching and seizing persons and
their personalty / property; 6) for falsely arresting and falsely imprisoning
persons; 7) for fabricating / destroying / concealing / altering / withholding
evidence in criminal and civil actions, and for otherwise “framing” persons in
criminal actions, in order to falsely and maliciously, oppressively convict innocent
persons, to protect them and other police officers and supervisory personnel from
civil, administrative and criminal liability; 8) for interfering with persons’ and/or
otherwise violating persons’ constitutionally protected right to free speech; 9) for
covering-up unlawful and tortious conduct by the City of Palm Springs and/or
with some other public entity personnel, and were a proximate cause of the very
same California state law, and federal and state constitutional violations
complained above, and complained of by the plaintiffs in this action.

16. In addition to the above and foregoing, defendants DOES 1 through
6, inclusive, acted pursuant to a conspiracy, agreement and understanding and
common plan and scheme to deprive the plaintiff Amy Barnett of her federal
Constitutional and statutory rights, as complained of in this action, and acted in
joint and concerted action to so deprive plaintiff Amy Barnett of those rights as
complained of herein; all in violation of 42 U.S.C. § 1983, and otherwise in
violation of United States (Constitutional and statutory) law.

17. | Said conspiracy / agreement / understanding / plan / scheme / joint
action / concerted action, above-referenced, was a proximate cause of the
violation of the plaintiff Amy Barnett’s federal and state constitutional and

statutory rights, as complained of herein.

FIRST CAUSE OF ACTION
UNREASONABLE SEIZURE OF PERSON UNDER
FOURTH AMENDMENT TO UNITED STATES CONSTITUTION
[Violation of 42 U.S.C. § 1983]
(By plaintiff AMY BARNETT, individually, against defendants DELANEY
and DOES | to 3 and 7 and 8, inclusive)

COMPLAINT FOR DAMAGES
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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page 7 of25 Page ID#:

18. Plaintiffs hereby reallege and incorporate by reference the allegations
set forth in paragraphs | through 17, inclusive, above, as if set forth in full herein.

19. On September 5, 2020, plaintiff BARNETT called the non-
emergency phone number to the Palm Springs Police Department to request police
assistance with a peaceful exchange of custody of her five-year old daughter,
minor child plaintiff A.M.B., to her estranged husband, Christopher Michael
Barnett.

20. When Palm Springs Police Department police officer DELANEY
and his partner(s), DOE 1 and/or DOE 2, arrived, said police officers wrongfully
told the plaintiff BARNETT that a temporary restraining order existed that
enjoined the plaintiff from being present at her own home—something that was
not true, as the Temporary Restraining Order that did issue specifically denied
Petitioner Christopher Michael Barnett’s request for exclusive use of his and the
plaintiffs’ residence. Throughout the course of the subject incident, plaintiff
verbally protested to defendants DELANEY and DOE 1 and/or DOE 2 that no
such court order existed.

21. Plaintiff knew from the Riverside County Superior Court’s order! by
Riverside County Superior Court Judge Mickie E. Reed that was served upon her
clearly stated that the facts stated by Christopher Michael Barnett in his request
for a restraining order “did not rise to stay away or move out” of plaintiff
BARNETT’s home.

22. Said defendants DELANEY and/or DOE 1 and/or DOE 2 then went
into plaintiff's home, presumably to speak with plaintiffs estranged husband, and
returned to plaintiff's car and told her to open the car door because she was under
arrest, which plaintiff refused to do.

23. Said defendants DELANEY and/or DOE 1 and/or DOE 2 again

 

' Said court order bearing Riverside County Superior Court Case No. DVIN2002191.

COMPLAINT FOR DAMAGES
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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page 8of25 Page ID#:

ordered plaintiff BARNETT to open her car door, and she again refused, before
DELANEY and/or DOE 1 and/or DOE 2 reached inside plaintiff's car window
and unlocked the door and opened it. At that moment, plaintiff BARNETT was
reaching for her phone to record the subject incident and was again told by
DELANEY and/or DOE | and/or DOE 2 that she was under arrest for violation of
a (the) court order.

24. Said defendants DELANEY and/or DOE 1 and/or DOE 2 then
proceeded to forcefully unbuckle plaintiff BARNETT’s seat belt and pull her out
of her car with great, excessive and unreasonable force, causing her injuries
(substantial bruising) and handcuffed plaintiff in front of her five-year old
daughter, minor plaintiff A.M.B., who was emotionally traumatized by witnessing
plaintiff's false arrest.

25. In addition to using excessive force in removing plaintiff BARNETT
from her car, said defendants DELANEY and/or DOE 1 and/or DOE 2 cinched
the handcuffs down excessively tight, causing plaintiff excruciating pain to her
wrists. Said use of excessive force by defendants DELANEY and/or DOE 1
and/or DOE 2 was not justified, and caused physical injuries to plaintiffs arms,
wrists, and legs.

26. Plaintiff BARNETT was then forcefully thrown into the back of a
Palm Springs Police Department patrol car by defendants DELANEY and/or DOE
1 and/or DOE 2 as plaintiff's estranged husband then snatched plaintiffs
daughter, minor plaintiff A.M.B., from the back of plaintiff's car, as plaintiff’ s
daughter was flailing her arms and legs screaming for her mother.

27. Defendants DELANEY and/or DOE 1 and/or DOE 2 then unlawfully
searched plaintiff BARNETT’s car before locking it. Defendants DELANEY
and/or DOE 1 and/or DOE 2 asked plaintiff if she was going to give the keys to
the car to her husband and she said “no”. Defendants DELANEY and/or DOE 1
and/or DOE 2 then told the plaintiff that if she did not give her keys to her car to

COMPLAINT FOR DAMAGES
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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page9of25 Page ID#:

her husband, that her car would be towed.

28. Hence, defendants DELANEY and DOES | through 10, inclusive,
were acting under the color of state law, and were acting in a joint, concerted and
conspiratorial action to also” deprive plaintiff BARNETT of her property in
violation of the Fourth Amendment to the United States Constitution.

29. Moreover, the actions of defendants DELANEY and DOES 1
through 10, inclusive, constituted a violation of plaintiff BARNETT’s rights under
the Fourth Amendment to the United States Constitution to be free from unlawful
and unreasonable search and seizure of her personal property.

30. Thereafter, plaintiff BARNETT was then transported to the Palm
Springs Police Department police station by defendants DELANEY and/or DOE 1
and/or DOE 2. Defendants DELANEY and/or DOE 1 and/or DOE 2 then went
inside the police station building, leaving plaintiff in the back seat of the patrol
car.

31. Defendants DELANEY and/or DOE 1 and/or DOE 2 then returned to
the patrol car with a supervisory officer, DOE 7 and/or DOE 8.’

32. Plaintiff BARNETT was told by the supervisory officer, DOE 7
and/or DOE 8, that there had been a mistake and plaintiff BARNETT was not
under arrest, and that they would transport plaintiff back to her car.

33. Plaintiff BARNETT was then pulled from the patrol car by
defendants DELANEY and/or DOE 1 and/or DOE 2, and was released from the
handcuffs from her wrists.

34. Plaintiff BARNETT told the supervisory officer, DOE 7 and/or DOE
8, that defendant DELANEY and/or DOE 1 and/or DOE 2 told plaintiff that her

 

* That is, in addition to the use of unreasonable / excessive force upon plaintiff AMY
BARNETT.

> Plaintiff BARNETT believes that the supervisory officer may have been Sergeant Kyle Stjerne
and/or DOE 7 and/or DOE 8.

COMPLAINT FOR DAMAGES
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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page 10of 25 Page ID#:

car would be towed, and the supervisory officer, DOE 7 and/or DOE 8, told
plaintiff that DELANEY and/or DOE 1 and/or DOE 2 had called him on the way
to the police station and the supervisory officer, DOE 7 and/or DOE 8, told
DELANEY and/or DOE 1 and/or DOE 2 that plaintiffs car was legally parked
and would not be towed.

35. Plaintiff BARNETT then asked the supervisory officer, DOE 7
and/or DOE 8, to have DELANEY and/or DOE 1 and/or DOE 2 to personally
admit that he was wrong and personally apologize to plaintiffs face. The
supervisory officer, DOE 7 and/or DOE 8, then told plaintiff he would do that “if
that would help [plaintiff] move forward.”

36. DELANEY and/or DOE 1 and/or DOE 2 then came out and admitted
to plaintiff BARNETT that he was wrong. Plaintiff still had to ask DELANEY
and/or DOE 1 and/or DOE 2 to apologize, and he did so disingenuously.

37. Plaintiff BARNETT was then driven in the back of the patrol car
back to the scene of the subject incident, and was released from custody.

38. The actions of defendants DELANEY and DOES 1 through 7,
inclusive, as complained above herein, constituted, inter alia, a violation of
plaintiff AMY BARNETT?’s rights under the Fourth Amendment to the United
States Constitution to be free from the unlawful and unreasonable seizure her
person, in the absence of a warrant or probable cause to believe that she

39. Asa direct and proximate result of the actions of defendants
DELANEY and DOES | through 10, inclusive, plaintiff BARNETT was: 1)
substantially physically, mentally and emotionally injured and suffered great
physical, mental and emotional pain, suffering and distress, and medical expenses,
2) incurred attorney’s fees and expenses, and 3) incurred general damages and
expenses associated costs; all in an amount to be proven at trial which is in excess
of $3,000.000.00.

40. The actions of said defendants, and each of them, as complained of

COMPLAINT FOR DAMAGES
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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page 11 of 25 Page ID#:

herein, were committed maliciously, oppressively and in reckless disregard of
plaintiff BARNETT’s constitutional rights, sufficient for an award of punitive /
exemplary damages against said defendants, in an amount to be proven at trial, in
excess of $3,000,000.00.

SECOND CAUSE OF ACTION

USE OF UNREASONABLE FORCE ON PERSON
UNDER FOURTH AMENDMENT TO THE
UNITED STATES CONSTITUTION
[Violation of 42 U.S.C. § 1983]
(By Plaintiff AMY BARNETT, individually, Against Defendants DELANEY
and DOES 1 to 3 and 7 and 8, inclusive)

41. Plaintiffs hereby reallege and incorporate by reference the allegations
set forth in paragraphs | through 40, inclusive, above, as if set forth in full herein.

42. As shown above, defendants DELANEY and/or DOE 1 and/or DOE
2 forcefully unbuckled plaintiff BARNETT’s seat belt and pulled her out of her
car with great and excessive force, causing her injuries (substantial bruising) and
handcuffed plaintiff in front of her five-year old daughter, minor plaintiff A.M.B.,
who was emotionally traumatized by witnessing plaintiffs false arrest. Said
defendants had no right to have used any force at all upon plaintiff AMY
BARNETT.

43. Moreover, as shown above, in addition to using excessive force in
removing plaintiff BARNETT from her car, said defendants DELANEY and/or
DOE 1 and/or DOE 2 knowingly and deliberately cinched the handcuffs down
excessively tight on plaintiff BARNETT, causing plaintiff excruciating pain to her
wrists.

44. Furthermore, as shown above, said use of excessive force by
defendants DELANEY and/or DOE 1 and/or DOE 2 was not justified, as said
defendants had no right to have touched the plaintiff at all, and said use of force

COMPLAINT FOR DAMAGES
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upon plaintiff AMY BARNETT caused physical injuries to plaintiff's arms,
wrists, and legs.

45. The actions of defendants DELANEY and DOES 1 through 7,
inclusive, as complained above herein, constituted a violation of plaintiff
BARNETT’s rights under the Fourth Amendment to the United States
Constitution to be free from the use of unlawful and unreasonable and excessive
force upon her person.

46. Asa direct and proximate result of the actions of defendants
DELANEY and DOES 1 through 10, inclusive, plaintiff BARNETT was: 1)
substantially physically, mentally and emotionally injured, 2) incurred attorney’s
fees and expenses, and suffered great physical, mental and emotional pain,
suffering and distress, and medical expenses, and 3) incurred general damages and
expenses associated costs; all in an amount to be proven at trial which is in excess
of $3,000.000.00.

47. The actions of said defendants, and each of them, as complained of
herein, were committed maliciously, oppressively and in reckless disregard of
plaintiff BARNETT’s constitutional rights, sufficient for an award of punitive /
exemplary damages against said defendants, in an amount to be proven at trial, in

excess of $3,000,000.00.

THIRD CAUSE OF ACTION

[Violation of 42 U.S.C. § 1983]
Claim Against Local Governing Body Defendants Based On
Failure To Train
(By Plaintiff AMY BARNETT, individually, Against Defendants DELANEY
and DOES | to 3 and 7 and 8, inclusive)

48. Plaintiffs hereby reallege and incorporate by reference the allegations

set forth in paragraphs | through 47 inclusive, above, as if set forth in full herein.

COMPLAINT FOR DAMAGES
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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page 12 of 25 Page ID#:

 
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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page 13o0f25 Page ID#:

49. As shown above, when defendants DELANEY and DOES 1 through
10, inclusive, deprived plaintiff BARNETT of her particular rights under the
United States Constitution, they were acting under the color of state law.

50. The training policies of defendants CITY and DOES 7 through 10,
inclusive, were not adequate to train their police officers and other sworn peace
officer personnel to handle the usual and recurring situations with which they
must deal with as sworn peace officers, to wit; defendants CITY and DOES 7
through 10, inclusive, failed to train its police officers that they have no right to
detain or arrest another for violation of a restraining order, unless they read the
actual court order and see that it prohibits the conduct that they may detain or
arrest another for doing.

51. Defendants CITY and DOES 7 through 10, inclusive, knew that their
police officers would be dispatched and would otherwise have to deal with
restraining order calls, yet they failed to properly train police officers and other
sworn peace officer personnel adequately; and

52. The failure of defendants CITY and DOES 7 through 10, inclusive, to
provide adequate training caused the deprivation of plaintiffs rights by the
defendants DELANEY, DOE 1 and/or DOE 2, CITY and DOES 7 through 10,
inclusive; that is, the defendants’ failure to train is so closely related to the
deprivation of plaintiff's rights as to be the moving force that caused the ultimate
injury.

53. As adirect and proximate result of the actions of defendants
DELANEY and DOES 1| through 10, inclusive, plaintiff BARNETT was: 1)
substantially physically, mentally and emotionally injured, 2) incurred attorney’s
fees and expenses, and suffered great physical, mental and emotional pain,
suffering and distress, and medical expenses, and 3) incurred general damages and

expenses associated costs; all in an amount to be proven at trial which is in excess
of $3,000.000.00.

COMPLAINT FOR DAMAGES
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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page 14 of 25 Page ID#:

FOURTH CAUSE OF ACTION
VIOLATION OF RIGHT TO FREE SPEECH / PETITION TO REDRESS
UNDER THE FIRST AMENDMENT TO THE
UNITED STATES CONSTITUTION
[Violation of 42 U.S.C. § 1983]
(By plaintiff Amy Barnett, individually, against defendants DELANEY and
DOES 1 to 3 and 7 and 8, inclusive)

54. Plaintiffs hereby reallege and incorporate by reference the allegations
set forth in paragraphs | through 53, inclusive, above, as if set forth in full herein.
55. As shown above, throughout the course of the subject incident,

plaintiff BARNETT verbally protested to defendants DELANEY and DOES 1
through 3, inclusive that there was not any court order which would have enjoined
plaintiff from being at her home.

56. Furthermore, defendants DELANEY and DOES 1 through 3,
inclusive, should have known that there was no court order enjoining plaintiff
BARNETT from her home.

57. Moreover, in response to and in retaliation for plaintiff BARNETT
verbally protesting her being ordered out of her car, defendants DELANEY and
DOES 1 through 3, inclusive, forcefully unbuckled plaintiff BARNETT’s seat belt
and pulled her out of her car with great and excessive force, causing her injuries
(substantial bruising) and handcuffed plaintiff in front of her five-year old
daughter, minor plaintiff A.M.B., who was emotionally traumatized by witnessing
plaintiff's false arrest.

58. Moreover, as shown above, in addition to using excessive force in
removing plaintiff BARNETT from her car, said defendants DELANEY and/or
DOE 1 and/or DOE 2 cinched the handcuffs down excessively tight, causing
plaintiff excruciating pain to her wrists—all in retaliation for plaintiffs verbal
protests.

59. Moreover, defendants DELANEY’s and DOES 1’s through 3’s,
inclusive, violent and brutal actions taken by them against plaintiff BARNETT

COMPLAINT FOR DAMAGES
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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page 15of25 Page ID#:

would chill a person of ordinary firmness from continuing to engage in the
protected activity; and

60. Plaintiff BARNETTs protected activity (verbal protest of her being
ordered out of her car and being grabbed, handcuffed and taken to the patrol car)
was a substantial or motivating factor in the defendant DELANEY and DOES 1
through 3, inclusive; to wit: a substantial or motivating factor in the decision of
defendants DELANEY and DOES 1 through 3, inclusive, in unlawfully arresting
plaintiff BARNETT.

61. Asadirect and proximate result of the actions of defendants
DELANEY and DOES 1 through 10, inclusive, plaintiff BARNETT was: 1)
substantially physically, mentally and emotionally injured, 2) incurred attorney’s
fees and expenses, and suffered great physical, mental and emotional pain,
suffering and distress, and medical expenses, and 3) incurred general damages and
expenses associated costs; all in an amount to be proven at trial which is in excess
of $3,000.000.00.

62. The actions of said defendants, and each of them, as complained of
herein, were committed maliciously, oppressively and in reckless disregard of
plaintiff BARNETT’s constitutional rights, sufficient for an award of punitive /
exemplary damages against said defendants, in an amount to be proven at trial, in

excess of $3,000,000.00.

FIFTH CAUSE OF ACTION
UNREASONABLE SEARCH and SEIZURE OF PERSONAL
PROPERTY UNDER FOURTH AMENDMENT TO THE
UNITED STATES CONSTITUTION
[Violation of 42 U.S.C. § 1983]
(By Plaintiff AMY BARNETT, individually, Against Defendants DELANEY
and DOES | to 3 and 7 and 8, inclusive)

63. Plaintiffs hereby reallege and incorporate by reference the allegations

COMPLAINT FOR DAMAGES
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Dase 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page 16 of 25 Page ID #:

set forth in paragraphs | through 62, inclusive, above, as if set forth in full herein.

64. As shown above, defendants DELANEY and/or DOE 1 and/or DOE
2 unlawfully searched plaintiff BARNETT’s car before locking it. Defendants
DELANEY and/or DOE 1 and/or DOE 2 asked plaintiff if she was going to give
the keys to the car to her husband and she said no. Defendants DELANEY and/or
DOE | and/or DOE 2 then told the plaintiff that if she did not give her keys to her
car to her husband, the car would be towed.

65. Hence, plaintiff BARNETT was forced by defendants DELANEY
and/or DOE 1 and/or DOE 2 to relinquish possession of her vehicle after it was
unlawfully searched by said defendants, constituting an unlawful seizure of her
personal property.

66. The actions of defendants DELANEY and DOES | through 10,
inclusive, as complained above herein, constituted a violation of plaintiff
BARNETT’s rights under the Fourth Amendment to the United States
Constitution to be free from unlawful and unreasonable search and seizure of her
personal property.

67. Asadirect and proximate result of the actions of defendants
DELANEY and DOES | through 10, inclusive, plaintiff BARNETT was: 1)
substantially physically, mentally and emotionally injured, 2) incurred attorney’s
fees and expenses, and suffered great physical, mental and emotional pain,
suffering and distress, and medical expenses, and 3) incurred general damages and
expenses associated costs; all in an amount to be proven at trial which is in excess
of $3,000.000.00.

68. The actions of said defendants, and each of them, as complained of
herein, were committed maliciously, oppressively and in reckless disregard of
plaintiff BARNETT’s constitutional rights, sufficient for an award of punitive /
exemplary damages against said defendants, in an amount to be proven at trial, in
excess of $3,000,000.00.

COMPLAINT FOR DAMAGES
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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page 17 of 25 Page ID#:

SIXTH CAUSE OF ACTION
Violation of Cal. Civil Code § 52.1
Under California State Law
(By Plaintiff AMY BARNETT, individually, Against Defendants DELANEY,
CITY and DOES 1 to 3 and 7 and 8, inclusive)

69. Plaintiffs hereby reallege and incorporate by reference the allegations
set forth in paragraphs 1| through 68, inclusive, above, as if set forth in full herein.

70. As shown above, defendants DELANEY and DOES 1 through 3,
inclusive, used unlawful and excessive force upon plaintiff BARNETT without a
warrant nor probable cause, nor even a reasonable suspicion of criminality afoot
of the plaintiff.

71. Said actual use of violence against the plaintiff BARNETT by said
defendants DELANEY and DOES 1| through 3, inclusive, caused physical injury
to BARNETT, and constituted the actual use of violence against the plaintiff
BARNETT in order to deter and prevent her from exercising his constitutional
right to be free from the use of excessive force upon his person.

72. Moreover, as shown above, said defendants DELANEY and DOES 1
through 3, inclusive, used unlawful and unreasonable force upon the plaintiff
DELANEY; said use of unreasonable force in itself being a violation of Section
52.1.

73. Said defendants DELANEY and DOES 1 through 3, inclusive,
interfered with, and/or attempted to interfere with, by use of actual violence, the
exercise or enjoyment by the plaintiff BARNETT of the rights secured by the
Constitution and laws of the United States, and of the rights secured by the
California Constitution and otherwise by California law, in violation of California
Civil Code § 52.1.

74. Said defendants CITY, DELANEY and DOES 1 through 3, inclusive,
are liable to the plaintiff BARNETT for said violations of her constitutional rights,
pursuant to California Civil Code §52.1, and California Government Code
§§815.2(a), 815.6, 820, 820.8.

COMPLAINT FOR DAMAGES
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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page 18 of 25 Page ID#:

75. Asa direct and proximate result of the actions of defendants
DELANEY and DOES 1 through 10, inclusive, plaintiff BARNETT was: 1)
substantially physically, mentally and emotionally injured, 2) incurred attorney’s
fees and expenses, and suffered great physical, mental and emotional pain,
suffering and distress, and medical expenses, and 3) incurred general damages and
expenses associated costs; all in an amount to be proven at trial which is in excess
of $3,000.000.00.

76. The actions of said defendants, and each of them, as complained of
herein, were committed maliciously, oppressively and in reckless disregard of
plaintiff BARNETT’s constitutional rights, sufficient for an award of punitive /
exemplary damages against said defendants, save defendant CITY, in an amount
to be proven at trial, in excess of $3,000,000.00.

77. In addition, as a result of the actions of said defendants in violation of
the plaintiff's rights under Cal. Civil Code § 52.1, plaintiff BARNETT is entitled
to an award of treble compensatory damages against all defendants, and each of

them in this action.

SEVENTH CAUSE OF ACTION
False Arrest / False Imprisonment

Under California State Law
(By Plaintiff AMY BARNETT, individually, Against Defendants DELANEY,
CITY and DOES 1| to 3 and 7 and 8, inclusive)

78. Plaintiffs hereby reallege and incorporate by reference the allegations
set forth in paragraphs | through 77, inclusive, above, as if set forth in full herein.

79. Ascomplained of above, the plaintiff BARNETT was unlawfully
seized and arrested by defendants DELANEY and DOES 1 through 3, inclusive,
on September 5, 2020.

80. As complained of above, said defendants DELANEY and DOES 1
through 3, inclusive: (1) had neither a warrant nor probable cause to believe that

plaintiff BARNETT had committed a crime, nor reasonable suspicion of

COMPLAINT FOR DAMAGES
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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page 19 of 25 Page ID#:

criminality afoot about the plaintiff; (2) The plaintiff BARNETT was actually
harmed by said conduct of defendants DELANEY and DOES 1 through 3,
inclusive; and (3) the conduct of defendants DELANEY and DOES 1 through 3,
inclusive was substantial factor in causing the plaintiff harm.

81. Defendants CITY, DELANEY and DOES 1 through 3, inclusive, are
liable to the plaintiff for her false arrest / false imprisonment pursuant to Cal.
Gov’t Code §§ 815.2(a), 815.6, 820, 820.4 and 820.8.

82. As adirect and proximate result of the actions of defendants
DELANEY and DOES 1 through 10, inclusive, plaintiff BARNETT was: 1)
substantially physically, mentally and emotionally injured, 2) incurred attorney’s
fees and expenses, and suffered great physical, mental and emotional pain,
suffering and distress, and medical expenses, and 3) incurred general damages and
expenses associated costs; all in an amount to be proven at trial which is in excess
of $3,000.000.00.

83. The actions-of said defendants, and each of them, as complained of
herein, were committed maliciously, oppressively and in reckless disregard of
plaintiff BARNETT’s constitutional rights, sufficient for an award of punitive /
exemplary damages against said defendants, save defendant CITY, in an amount

to be proven at trial, in excess of $3,000,000.00.

EIGHTH CAUSE OF ACTION
Battery
Under California State Law
(By Plaintiff AMY BARNETT, individually, Against Defendants DELANEY,
CITY and DOES 1 to 3 and 7 and 8, inclusive)

84. Plaintiffs hereby reallege and incorporate by reference the allegations
set forth in paragraphs | through 83, inclusive, above, as if set forth in full herein.
85. The actions committed by defendants DELANEY and DOES 1

through 3, inclusive, above-described, constituted unjustified non-consensual use

COMPLAINT FOR DAMAGES
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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page 20 of 25 Page ID #:

of unlawful force and violence upon the plaintiff BARNETT, and constituted a
battery of her by defendants DELANEY and DOES 1 through 3, inclusive, under
California state law.

86. Defendants CITY, DELANEY and DOES 1 through 3, inclusive, and
each of them, are liable to the plaintiff BARNETT for said batteries of her,
pursuant to Cal. Government Code §§ 815.2(a), 815.6, 820, 820.8 and otherwise
pursuant to the common-law.

87. As adirect and proximate result of the actions of defendants
DELANEY and DOES 1 through 10, inclusive, plaintiff BARNETT was: 1)
substantially physically, mentally and emotionally injured, 2) incurred attorney’s
fees and expenses, and 3) incurred general damages and expenses associated
costs; all in an amount to be proven at trial which is in excess of $3,000.000.00.

88. The actions of said defendants, and each of them, as complained of
herein, were committed maliciously, oppressively and in reckless disregard of
plaintiff BARNETT’s constitutional rights, sufficient for an award of punitive /
exemplary damages against said defendants, save defendant CITY, in an amount
to be proven at trial, in excess of $3,000,000.00.

NINTH CAUSE OF ACTION
Assault
Under California State Law
(By Plaintiff AMY BARNETT, individually, Against Defendants DELANEY,
CITY and DOES 1 to 3 and 7 and 8, inclusive)

89. Plaintiffs hereby reallege and incorporate by reference the allegations
set forth in paragraphs | through 88, inclusive, above, as if set forth in full herein.
90. The actions committed by defendants DELANEY and DOES 1

through 3, inclusive, above-described, constituted an assault of the plaintiff
BARNETT under California state law, as said plaintiff was unlawfully placed in
reasonable fear of receiving an imminent violent injury by defendants DELANEY
and DOES 1 through 3, inclusive.

COMPLAINT FOR DAMAGES
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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page 21 of 25 Page ID#:

91. Defendants CITY, DELANEY and DOES 1 through 3, inclusive, are
liable to under California state law for said assaults of the plaintiff BARNETT,
pursuant to Cal. Government Code §§ 815.2(a), 815.6, 820 and 820.8, pursuant to
the California Constitution, and otherwise pursuant to the common law.

92. Asa direct and proximate result of the actions of defendants
DELANEY and DOES 1 through 10, inclusive, plaintiff BARNETT was: 1)
substantially physically, mentally and emotionally injured, and suffered great
physical, mental and emotional pain, suffering and distress, and medical expenses,
2) incurred attorney’s fees and expenses, and 3) incurred general damages and
expenses associated costs; all in an amount to be proven at trial which is in excess
of $3,000.000.00.

93. The actions of said defendants, and each of them, as complained of
herein, were committed maliciously, oppressively and in reckless disregard of
plaintiff BARNETT’s constitutional rights, sufficient for an award of punitive /
exemplary damages against said defendants, save defendant CITY in an amount to

be proven at trial, in excess of $3,000,000.00.

TENTH CAUSE OF ACTION

CONVERSION / TRESPASS TO CHATTELS UNDER CALIFORNIA
STATE LAW
(By Plaintiff AMY BARNETT, individually, Against Defendants DELANEY,
CITY and DOES 1 to 3 and 7 and 8, inclusive)

94. Plaintiffs hereby reallege and incorporate by reference the allegations
set forth in paragraphs | through 95, inclusive, above, as though set forth in full
herein.

95. Plaintiff BARNETT owned and possessed the vehicle identified
hereinabove and at all times mentioned herein.

96. Said defendants DELANEY and DOES 1 through 3, inclusive,
intentionally and substantially interfered with BARNETT’s use of her property by

COMPLAINT FOR DAMAGES
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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page 22 of 25 Page ID #:4

taking possession of plaintiffs vehicle.

97. Plaintiff BARNETT did not consent to said defendants, and each of
them, to the taking of her vehicle.

98. Plaintiff BARNETT was harmed by the taking of her vehicle.

99. Defendants CITY, DELANEY and DOES 1 through 3, inclusive, are
liable to under California state law for said conversion / trespass to chattel of the
plaintiff BARNETT pursuant to Cal. Government Code §§ 815.2(a), 815.6, 820
and 820.8, pursuant to the California Constitution, and otherwise pursuant to the
common law.

100. Said defendants’ conduct, and each of them, was a substantial factor
in causing plaintiff's harm.

101. Asa direct and proximate result of the actions of defendants
DELANEY and DOES 1| through 10, inclusive, plaintiff BARNETT was: 1)
substantially physically, mentally and emotionally injured, 2) incurred attorney’s
fees and expenses, and suffered great physical, mental and emotional pain,
suffering and distress, and medical expenses, and 3) incurred general damages and
expenses associated costs; all in an amount to be proven at trial which is in excess
of $3,000.000.00.

102. The actions of said defendants, and each of them, as complained of
herein, were committed maliciously, oppressively and in reckless disregard of
plaintiff BARNETT’s constitutional rights, sufficient for an award of punitive /
exemplary damages against said defendants, save defendant CITY, in an amount

to be proven at trial, in excess of $3,000,000.00.

ELEVENTH CAUSE OF ACTION
Intentional Infliction Of Emotional Distress
Under California State Law
(By Plaintiff BARNETT and Minor Plaintiff A.M.B. Against Defendants
DELANEY, CITY and DOES 1| to 3 and 7 and 8, inclusive)

COMPLAINT FOR DAMAGES
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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page 23 0f 25 Page ID#:

103. Plaintiffs hereby reallege and incorporate by reference the allegations
set forth in paragraphs | through 102, inclusive, above, as if set forth in full
herein.

104. Defendants DELANEY and DOES 1 through 3, inclusive, and each
of them, knew and/or should have known that plaintiff BARNETT and minor
plaintiff A.M.B. were susceptible to suffering severe emotional distress from the
actions taken and committed against plaintiff BARNETT and minor plaintiff
A.M.B. as complained of above and herein.

105. Moreover, the conduct of said defendants, for all of the incidents
complained of herein, were outrageous and not the type of conduct condoned in a
civilized society.

106. Defendants CITY, DELANEY and DOES 1 through 3, inclusive, are
liable to under California state law for said intentional inflictions of emotional
distress of the plaintiff BARNETT and minor plaintiff A.M.B., pursuant to Cal.
Government Code §§ 815.2(a), 815.6, 820 and 820.8, pursuant to the California
Constitution, and otherwise pursuant to the common law.

107. Asa direct and proximate result of the actions of defendants
DELANEY and DOES 1 through 10, inclusive, plaintiff BARNETT and minor
plaintiff A.M.B. were: 1) substantially physically, mentally and emotionally
injured, 2) incurred attorney’s fees and expenses, and suffered great physical,
mental and emotional pain, suffering and distress, and medical expenses, and 3)
incurred general damages and expenses associated costs; all in an amount to be
proven at trial which is in excess of $3,000.000.00.

108. The actions of said defendants, and each of them, as complained of
herein, were committed maliciously, oppressively and in reckless disregard of
plaintiff BARNETT’s constitutional rights, sufficient for an award of punitive /
exemplary damages against said defendants, save defendant CITY, in an amount

to be proven at trial, in excess of $3,000,000.00.

COMPLAINT FOR DAMAGES
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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page 24 of 25 Page ID#:

TENTH CAUSE OF ACTION
Negligent Infliction Of Emotional Distress (Dillon v. Legg Claim)
Under California State Law
(By Minor Plaintiff A.M.B., individually Against Defendants DELANEY,
CITY and DOES 1 to 3 and 7 and 8, inclusive)

109. Plaintiffs hereby reallege and incorporate by reference the allegations
set forth in paragraphs | through 108, inclusive, above, as if set forth in full
herein.

110. As shown above, minor plaintiff A.M.B. had a sensory awareness of
her mother being falsely arrested and brutalized by defendants DELANEY and
DOES 1 through 3, inclusive. Said plaintiff specifically saw and heard her mother
being subjected to her false arrest and to the use of unreasonable force upon her
by defendants DELANEY and DOES | through 3, inclusive, and she suffered
severe emotional distress therefrom.

111. As shown above, as a result of the plaintiff being aware of
mistreatment by defendants DELANEY and DOES 1 through 3, inclusive, above-
referenced, said plaintiff suffered severe emotional distress therefrom. Plaintiff
witnessed her mother being arrested and violently pulled form her mother’s car
and handcuffed by said defendants, as discussed above, during the September 5,
2020 incident complained of above and below, being subjected to unreasonable
force by defendants DELANEY and DOES | through 3, inclusive, and suffered
severe emotional distress therefrom.

112. Asa direct and proximate result of the actions of defendants
DELANEY and DOES 1 through 10, inclusive, minor plaintiff A.M.B. was: 1)
substantially physically, mentally and emotionally injured, 2) incurred attorney’s
fees and expenses, and suffered great physical, mental and emotional pain,
suffering and distress, and medical expenses, and 3) incurred general damages and
expenses associated costs; all in an amount to be proven at trial which is in excess
of $3,000.000.00.

113. The actions of said defendants, and each of them, as complained of

COMPLAINT FOR DAMAGES
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Case 5:21-cv-01965-VAP-SP Document1 Filed 11/18/21 Page 25 of 25 Page ID#:

herein, were committed maliciously, oppressively and in reckless disregard of
minor plaintiff A.M.B.’s constitutional rights, sufficient for an award of punitive /
exemplary damages against said defendants, save defendant CITY, in an amount
to be proven at trial, in excess of $3,000,000.00.

WHEREFORE, plaintiffs pray for judgment as follows:

a) For a judgment against all defendants for compensatory damages in
an amount in excess of $3,000,000.00;

b) For a judgment against all defendants for punitive damages in an
amount in excess of $3,000,000.00;

c) For an award of reasonable attorney’s fees and costs;

d) ‘For a trial by jury; and

e) For such other and further relief as this honorable court deems just

and equitable.

 

JERRY/... $TEERING
Attorney for plaintiffs

COMPLAINT FOR DAMAGES
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